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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:06-CR-181
v.
                                                        HON. ROBERT HOLMES BELL
NICKOLAS MAURICE FRY,

              Defendant.
                                  /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #65). Based on a

review of defendant’s motion, the Sentence Modification Report, submissions by counsel

on behalf of the defendant and the government, and the original criminal file, the Court

has determined that the motion should be denied for the following reason(s):

       Defendant was sentenced on April 6, 2007 to 120 months custody following his

conviction for Conspiracy to Possess with Intent to Distribute 50 Grams or More of

Cocaine Base contrary to 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)(iii). The Court’s

sentence varied considerably from the advisory guideline range of 168 - 210 months. On

June 21, 2007, the Court amended defendant’s term of custody to 108 months following

the filing of the government’s Rule 35(b) motion. On May 16, 2008, following the filing
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of a second Rule 35(b) motion, the Court amended defendant’s term of custody to 100

months.

       In order to have a sentence that adequately reflects the facts of the conviction and

the defendant’s criminal record, and in light of the adjustments already made to

defendant’s term of custody, the Court hereby DENIES defendant’s Motion for

Modification or Reduction of Sentence




DATED:      October 27, 2009               /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
